                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

IN RE:                                                       Case No. 16-44445

STEVEN G. SHARKEY                                            Chapter 13
and SANDRA E. SHARKEY,
                                                             Judge Thomas J. Tucker
                Debtors.
                                        /

      OPINION REGARDING THE AMOUNT OF FEES AND EXPENSES TO BE
     AWARDED IN GRANTING THE MOTION TO ALLOW ADMINISTRATIVE
             EXPENSE FILED BY STEVENSON & BULLOCK, PLC

I. Introduction

         This case came before the Court for a hearing on April 6, 2017, on the motion filed by

creditor Stevenson & Bullock, PLC, entitled “Motion to Allow Administrative Expense Pursuant

to 11 U.S.C. §503(b)” (Docket # 166, the “Motion”). Confirming action taken during the

hearing, and for the reasons stated by the Court on the record during the hearing, the Court

entered an Order on April 6, 2017 (Docket # 194, the “April 6 Order”).

         The April 6 Order granted the Motion in part, and otherwise took the Motion under

advisement. The Order stated:

                IT IS ORDERED that:

                1. The Motion (Docket # 166) is granted to the extent of the
                following relief, and otherwise is taken under advisement.

                2. Stevenson & Bullock, PLC (the “Creditor”) will be allowed an
                administrative expense in the amount of the reasonable attorney
                fees and expenses incurred by the Creditor, after the conversion of
                this case to Chapter 13, in successfully objecting to the Debtor
                Steven Sharkey’s claimed exemptions in the scheduled assets
                described as “The Hartford Annuity” and the “Nationwide
                Annuity.”




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               3. The dollar amount of such administrative expense to be
               allowed remains to be determined by the Court, in a ruling that the
               Court intends to make on or before April 20, 2017, as described
               below. To the extent of that remaining issue, the Motion is taken
               under advisement.

               4. The Court will hold a further hearing on the Motion, on April
               20, 2017 at 2:00 p.m. The purpose of that hearing is for the Court
               to give a bench opinion announcing and explaining the Court’s
               ruling on the remaining issue.

(Bold emphasis in original) (footnotes omitted).

       In an order filed April 19, 2017 (Docket # 202), the Court cancelled the April 20, 2017

bench opinion hearing, stating that the Court had decided to issue its ruling on the remaining

issue in writing. This opinion, and the accompanying order that will be entered based on this

opinion, is the Court’s written ruling on the remaining issue.

II. Discussion

A. The remaining issue

       As framed by paragraph 2 of the April 6 Order, quoted above, the administrative expense

to be awarded to Stevenson & Bullock, PLC (the “Creditor”), is “in the amount of the reasonable

attorney fees and expenses incurred by the Creditor, after the conversion of this case to Chapter

13, in successfully objecting to the Debtor Steven Sharkey’s claimed exemptions in the

scheduled assets described as ‘The Hartford Annuity’ and the ‘Nationwide Annuity.’” The

remaining issue is what is that amount?

B. Creditor’s fee and expense itemization

       In the Motion, the Creditor seeks attorney fees totaling $32,085.00 plus expenses of

$609.76, for a total of $32,694.76. The Debtors, who are the only parties who objected to the



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Motion, did not actually object to the reasonableness of the amount of fees and expenses sought

by the Motion, either in their written response (Docket # 167)1 or during the April 6, 2017

hearing. Rather, Debtors argued only that the Court could not and should not allow the Creditor

any administrative expense, in any amount. (The Court rejected that argument, for the reasons

stated on the record during the April 6, 2017 hearing.) Nonetheless, the Court should and will

conduct its own independent review of the reasonableness of the amount requested by the

Creditor.

        The support for the Creditor’s claimed amount of fees and expenses is the fee and

expense itemization that is attached as Exhibit 6-2 to the Motion (at Docket # 166) (the

“Itemization”). The Court has carefully reviewed the Itemization, and the Court finds and

concludes that numerous attorney time entries in the Itemization should be disallowed for

purposes of calculating the reasonable fee amount.

        To show what these disallowed time entries are, and to help show why they are

disallowed, the Court attaches to this opinion a copy of the Itemization, with handwritten

notations placed on the Itemization by the Court. With these notations the Court shows which

time entries are disallowed, by crossing them out. And these notations show why each entry is

disallowed. In addition, the Court has crossed out all time entries designated in the “Total”

column of the Itemization as “No Charge” or “Do Not Bill.” These time entries are not included

in the total of fees sought by the Creditor, and the Court has crossed them out to make clear that


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              In addition to the Debtors’ response to the Motion filed at Docket # 167, the Debtors also
filed a brief opposing the Motion, at Docket # 177. The Court entered an order striking that brief,
however, as untimely (Docket # 179). But the Court notes that in that stricken brief, the Debtors did not
make any objections to the reasonableness of the amount of the administrative expense sought by the
Creditor.

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the Court does not include them in its total of fees either.

       The Court’s reasons for disallowance of specific attorney time entries fall into two

categories. The first category is time entries for the work done by attorney “MAS” (Michael A.

Stevenson). Attorney “SNG” (Sonia N. Goll) did the vast majority of the work for the Creditor

in seeking to obtain disallowance of the Debtor Steven Sharkey’s claimed exemptions in the

annuities at issue, and Ms. Goll made the oral arguments for the Creditor at all the hearings held.

As the Itemization shows, Ms. Goll had various conferences with Mr. Stevenson, and both Ms.

Goll and Mr. Stevenson billed for many of those conferences with each other. And Mr.

Stevenson did, and billed for, other work, such as reviewing drafts of items to be filed by the

Creditor that Ms. Goll had prepared. The Court finds that it is unreasonable to allow fees in this

case for all of this work by both Ms. Goll and Mr. Stevenson. Cf. 11 U.S.C. § 330(a)(4)(A)(i)

(“the court shall not allow compensation for . . . unnecessary duplication of services”).

       The Court does not question the quality of Mr. Stevenson’s work and the assistance he

gave to Ms. Goll in this case, but the Court does find that billing for the work of both Ms. Goll

and Mr. Stevenson combined is excessive and unreasonable. This is so because Ms. Goll alone

reasonably could have done all the work on this matter, and had she done so she could have and

would have obtained the same ultimate favorable result for the Creditor on the exemption issues.

So the Court disallows all of Mr. Stevenson’s time entries. These are identified by the

handwritten notation “2X” on the attached Itemization, and these disallowed time entries total

14.2 hours of Mr. Stevenson’s time, equating to $5,325.00 of the fees in the Itemization.

       The second category of reason for the Court disallowing some of the time entries in the

Itemization is that several of the entries are for work that was not directly related to the


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exemption issues. These are designated by the notation “NR” (not relevant) on the attached

Itemization. Under the April 6 Order, the fees to be awarded as an administrative expense are

limited to the reasonable fees incurred by the Creditor “after the conversion of this case to

Chapter 13, in successfully objecting to the Debtor Steven Sharkey’s claimed exemptions” in the

Hartford and Nationwide annuities. Several of the time entries are for work involving other

issues, including (1) work to obtain allowance of a Chapter 7 administrative expense for work

done by the Creditor as counsel for the Chapter 7 Trustee before conversion of this case to

Chapter 13, and related issues (these are designated with the notation “NR-AE7” on the attached

Itemization); (2) work in objecting to confirmation of the Debtors’ filed Chapter 13 plans, or

work otherwise relating to plan confirmation or case administration matters other than the

exemption issues; (3) work done solely on the Creditor’s unsuccessful effort to obtain sanctions

against Debtors’ counsel under 28 U.S.C. § 1927; and (4) work done to prepare and prosecute the

present Motion (Docket # 166).

       These categories of work are being disallowed because none of them were sufficiently

related to, and contributed directly enough to, the Creditor’s success in objecting to the Debtor

Steven Sharkey’s claimed exemptions in the annuities. These disallowed time entries of Ms.

Goll total 13.6 hours of her time, equating to $4,080.00 of the fees in the Itemization.

       The disallowed time entries translate to a total of $9,405.00 in fees. After deducting this

amount from the fees in the Itemization, the reduced total of fees is $22,680.00 ($32,085.00 -

$9,405.00 = $22,680.00). The Court finds and concludes that $22,680.00 is the “amount of the

reasonable attorney fees and expenses incurred by the Creditor, after the conversion of this case

to Chapter 13, in successfully objecting to the Debtor Steven Sharkey’s claimed exemptions,”


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within the meaning of the April 6 Order.2

        With respect to the expenses in the Itemization, the Court finds them to be reasonable and

appropriate to include in the allowed administrative expense, with no deductions. These

expenses total $609.76.

        Thus, the Court finds that the appropriate amount of the administrative expense to be

awarded to the Creditor is $22,680.00 in attorney fees plus $609.76 in expenses, for a total

amount of $23,289.76.

C. Proportionality

        Furthermore, the Court finds that this amount is not disproportional to the benefit that the

Creditor produced for the bankruptcy estate and the other creditors, by the Creditor’s success in

obtaining disallowance of the claimed exemptions in Debtor Steven Sharkey’s annuities. Cf. In

re Allied Computer Repair, Inc., 202 B.R. 877, 887 (Bankr. W.D. Ky. 1996) (citations omitted)

(“[T]he overwhelming majority of Courts have recognized that a ‘reasonable’ attorney fee for

purposes of [11 U.S.C.] § 330 is one that is ‘commensurate with the potential or actual value

obtained.’ Thus, the Bankruptcy Court has the authority to reduce the requested attorney fees

when disproportionate to the benefit produced thereby.”)

        Rather, the administrative expense amount the Court is allowing is reasonable in light of

the benefit the Creditor’s efforts obtained for the other creditors in the case. This Court so finds,

based on the following undisputed facts. First, the exemptions that Debtor Steven Sharkey



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            This fee amount is based on an hourly rate of $300.00 per hour for the work of Ms. Goll. At
least in the absence of an objection by anyone to this hourly rate, the Court finds this rate to be a
reasonable rate for the work Ms. Goll did on the exemption issues in this case. And the Debtors have not
argued that Ms. Goll’s hourly rate is unreasonably high.

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claimed were for the entire value of his two annuities, which the Debtors’ Schedules B and C

stated had a total value of $96,675.00. (See the Court’s opinion filed February 16, 2017 (Docket

# 164) at 5). The Creditor obtained the complete disallowance of the exemptions, and thereby

brought a total value of $96,675.00 into the bankruptcy estate, for the benefit of all the creditors.

       Second, as a result of the Creditor’s obtaining the disallowance of these exemptions, all

creditors will have to be paid a 100% dividend on their allowed claims. This is so regardless of

whether the Debtors manage to confirm a plan in this Chapter 13 case, or failing that, the case

converts back to Chapter 7. At the moment, the allowed unsecured claims in this bankruptcy

case, other than the administrative claims and the claim of a vehicle-lease creditor whose lease the

Debtors are proposing to assume and pay directly, total $15,763.23. This number is based on the

claims and amended claims filed to date, as they appear in the claims register, and the Debtors’

most recent proposed Chapter 13 plan (Docket # 172 at p. 6 (Class Nine 100% dividend proposed)

plus p. 9 (Worksheet at item 8)).

       The deadline for filing proofs of claim in this case was October 31, 2016. (See Notice

(Docket # 55) at 2). At least until that claim-filing deadline passed, the record in this case

indicated that the allowed unsecured claims might total at least as high as $63,074.40. This is the

total amount of such claims that the Debtors listed in their Schedule E/F, which was filed on

March 25, 2017 (Docket # 1) and never amended. As it turned out, not all of the eight non-

priority unsecured creditors that Debtors listed in their Schedule E/F filed a proof of claim before

the October 31, 2016 deadline. But the Creditor’s counsel could not have known that would

occur until after October 31, 2016, and by that time much of the work by the Creditor in objecting

to the claimed exemptions in Steven Sharkey’s annuities had already been done. Cf. 11 U.S.C.


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§ 330(a)(3)(C) (factors relevant to reasonable amount of fees include “whether the services were .

. . beneficial at the time at which the service was rendered”). And if this case ultimately converts

back to Chapter 7 (a distinct possibility), it is still possible that the unsecured creditors listed in

Debtors’ Schedule E/F who have not timely filed proofs of claim could file tardy claims, and have

those claims paid in full, under 11 U.S.C. § 726(a)(3). That would significantly increase the total

amount by which the other creditors will have benefitted by the Creditor’s work in obtaining

disallowance of the exemptions.

        Under these circumstances, the amount of the administrative claim the Court is allowing is

not excessive; rather, it is reasonable in amount.

III. Conclusion

        For the reasons stated in this opinion, the Court will enter an order setting the amount of

the administrative expense to be granted to Stevenson & Bullock, PLC at $23,289.76, and

allowing a Chapter 13 administrative expense in that amount.3


Signed on April 21, 2017                                 /s/ Thomas J. Tucker
                                                         Thomas J. Tucker
                                                         United States Bankruptcy Judge




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           This will be in addition to the Chapter 7 administrative expense previously allowed to
Stevenson & Bullock, PLC by the Order filed on August 25, 2016 (Docket # 89), in the amount of
$6,480.34.

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                                                         Selection Criteria

Clie.Selection           Include: MAS.Sharkey, Steven & Sandra
Slip.Transaction Date    711 1/2016 - 2/20/2017


Nickname          MAS.Sharkey, Steven & Sandra 13637
Full Name         Michael A. Stevenson, Chapter 7 Trustee
Address
Phone I                                   Phone 2
Phone 3                                   Phone 4
In RefTo          Steven G. Sharkey and Sandra E. Sharkey
                  Case No . 16-44445
Fees Arrg.        By billing value on each slip
E:"pense Arrg.    By billing value on each slip
Tax Profile       Exempt
Last bill
Last charge       2/20/2017
Last payment                             Amount      $0.00

Date           Timekeeper                                                           Rate     Hours         Amount      Total
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  7/11/2016    SNG                                                                300.00      4.50         1,350.00  Billable
     298800    Review
               Review last amended schedules Band C; research case law (incomplete) and begin
               drafting objection to exemptions and brief in support (incomplete)

  7/12/2016 SNG                                                                  300.00           0.50      150.00       Billable
     299099 Research
            Continue researching case law regarding objection to exemptions, drafting/editing of


                                                                                                )< X
            objection to exemptions und brief in support of objections; forward to Trustee for review

  7/14/2016 MAS
     298811 Review
            Reviewed and revised objectio
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                                                debtor's claim of exemptions in debtor's convert
                                                                                                                         Billable
                                                                                                                                    zx
            Chapter 13 case

 7/18/2016 SNG                                                                300.00               0.10      30.00       Billable
    299492 Telephone Call
           Telephone call from Nathalie Brown at Nationwide regarding drafting statement
           regarding non-qualified accl

 7118/2016 SNG                                                                  300.00             0.20      60.00       Billable
   299490 Rec/Rev
           Receipt and review of fax from Nathalie Brown at Nationwide regarding annuity
           contract; Telephone call to Nathalie left message regarding additional information
           needed regarding non-qualified acct

 7/21/2016 SNG                                                                 300.00              0.10      30.00       Billable
    298954 Rec/Rev
           Receipt and review of fax from Nationwide regarding non-erisa qualified account
           description




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MAS.Sharkey, Steven & Sandra:Michael A. Stevenson, Chapter 7 Trustee (continued)

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     298956 Manage data
            Conference with M ichnel A. Stevenson regarding latest Nationwide fnx/into and
            strategy regarding same

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           Receipt and revie\/ U copy correspondence from Nationwide regarding orig,affax                        /~
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    299517 Telephone Cull
            Telephone call to Cathy at The Hartford spoke instead with Ryan regarding status of
            letter regnrding non-qualified annuity, to look into and call back

 7/22/2016 SNG                                                               300.00       ~ 11,0/ 'l~Q,pO/ Do Not Bill
    299514 Rec/Rev                              ./"                                        .~'Q     ) 2!f.e
           Receipt and review ofob ction t fe<npplication filed by David Lewiston (note thlt . "'- ('    . ·
           objection refers to brief but  filed), compare with fee app; Conference with Michael
           A. Stevenson regarding~ ct1 s

 7/25/2016 SNG                                                                300.00             0.10              30.00          Billable
    299254 Rec/Rev
           Receipt nnd review of Notice of Hearing for objection to exemption

 7/25/2016 SNG                                                                  300.00           1.30            390.00           Billable
    299250 Other activity
           Edit and complete brief in support of objection to exemption; prepare exhibits; prepare
           links and hyperlinks; prepare for filing

 7/25/2016 SNG                                                                    300.00      ~
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 . 299251 Othernctivity              \.
           Open Chapter 13 file and or~· ni oocuments; review Chapter 13 plan, amend sche ~ e
           I and J; prepare notes; draft:; ~ ection to confirmation; review and edit same and
           prepare for filing         r '
 7/25/2016 SNG                                                            300.00               ~~                  3~ DoNotBill

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    299241 Rec/Rev                              '-..._ /
           Receipt and review ofNotice of Hearing ~~ application; calendar same

 7/26/2016 SNG                                                                  300.00         0.30                90.00          Billable
    299523 Telephone Call
           Telephone call from Nancy nt The Hartford regarding request for information; Receipt
           and review of fax from Nancy regarding annuity information; Telephone call to Vicky
           regarding missing information from fax, will forward and have reissued




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 4:47PM                                                    Pre-bill Worksheet                                             Page       3

MAS.Sharkey, Steven & Sandrn:Michael A. Stevenson, Chapter 7 Trustee (continued)




 7/26/2016 MAS                           1~                                        375.00           0.50/   187.50/    Do Not Bill
    299635 Review                                                                               "'-..o.so   1W-tr
             Review of brief filed by debtor's   unsel objecting to attorney's fees; formulate strnyel"~    A
 7/27/2016 SNG                                                                     300.00           0.20     60.00        Billable
    299478 Rec/Rev
             Receipt and review of fax correspondence fi·om The Hartford regarding non-compliant
             annuity ; prepare correspondence to filing as supplemental exhibit to objection to
             exemptions

 7/27/2016 SNG
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                                                                                   300.00       ~
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             Receipt and review ofe~>Qjj;~Leanne Cachia at Trustee's office regarding need or
             ProofofClaim if fee app~~ approved

 8/15/2016 SNG                                                                     300.00           0.20     60.00        Billable
    301043 Conference
             Conference with Rachel Schultz regarding instructions for Certificate ofNo Response
             language; review nnd execute Certificate ofNo Response

 8/15/2016 SNG                                                                     300.00           0.30     90.00        Billable
    301050 Rec/Rev
             Receipt and review of order grunting objection to exemptions; Conference with Michael
             A. Stevenson regarding same, hearing previously scheduled by judge; Telephone call
             to Mary Yosniac left message regarding order and possible corrected order needed

 8/15/2016 MAS
    301278 Review
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             Review of true copy oford~ '~ nting objection to exemptions; reviewed debtor's     t"">
             objection to application ~Fattm~ eys fees

 8116/2016 SNG                                                                     300.00           0.20     60.00        Billable
   301123 Rec/Rev
             Receipt and review of e-mail from Adam Wiener requesting stipulation to set ns ide
             order on exemptions; Con Ference with Michael A. Stevenson regarding sa me; e-mail to
             Adam declining to stipulation

 8/16/2016 MAS                                                 ,..-             375.00                                 Do Not Bill
    301284 Analyze                                '-.. /
             Analyze debtor's briefin response to aepfr'G tion for compensation

 8/25/2016 SNG                                                                     300.00        ~
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    301556 Meet
             Meeting with Adam    Wei~        ·L   tatus conference; attend status conference
             (includes I hour trnvel tirr;tit r d by two cases)




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MA S.Sharkey, Steven & Sandra:Mich ael A. Stevenson, Chapter 7 Trustee (continued)

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                       ;.;.;....;.." ' - - - - - - -- - - - - - - - - --            300.00         0.40     120.00   Billable
     301 559    Rec/Rev
                Receipt and review of motion to set aside order on objection to exemptions (incomplete
               review as to brief)

  8/25/20 I6 SNG                                                                     300.00        0.10      30.00        Do Not Bill
     301565 Conference                                       -"".,..-                             '?(~·
             Conference with Michael A. Stevenson
             hearing and prepare for submission /
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 8/25/2016 MAS                                                                375.00        1.00          ~~~.........Do Not Bill
    301752 Attendance
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           Attendance at hearing on objectio . o application for compensation for Stevenson      Y'>        0
           Bullock as counsel for Trustee
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 8/26/2016 MAS                                                                 375.00             0.10                       Billable    1//< /4£7
    301759 Review                              \.
           Review of email !Tom Trustee's staff'a t ey regarding need lo file ProofofClaim
           administrative expens e in ord er tog    id
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    301596 Rec/Rev                     '\.           /                                          '\. . /     1"--
           Receipt and review of email ffi> varde J§y Kimberly Bedigian !Tom Leanne Cachia at / ' \
           Tustee's office regarding reque t fo F' econd fee application to be paid ns administrative
           fees; review order; email to Lean ., Kimberly Shorter-Seibert, and Marilyn
           Somers-Kantzer regarding san and ~dditional fee application needed

 8/26/20 I6 SNG                                                                    300.00
    301598 Draft
            Draft ofProofofCiaim for adm'-1

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    301597 &mail                               ~ ~
           emails !Tom (4) and to (4) Marilyn S/ ~ Kantzer regarding administration claim

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           Review.ed motion to set aside order . diiining the objections to the debtor's claim   o;-r
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           exemptions

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    301987 Rec/Rev                                                                                /'-.
           Receipt and review of Confirmation

  9/6/2016 SNG                                                                   300.00         5.00       1,500.00           Billable
    302546 Review
           Review motion to set aside, brief in support, notes, docket report; dmft response to
           motion to set aside; begin drafting briefin support regarding facts (incomplete);
           forward to Michael A. Stevenson for initial review regarding response and facts for brief




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MAS.Sharkey, Steven & Sandra:M ichael A. Stevenson, Chapter 7 Trustee (continued)

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  917/20 16 SNG                                                                    300.00          5.10      1,530.00      Billable
   302563 Review
              Continue case law review and drafting briefin support of response to motion to set
              as ide order; forward to Michael A. Stevenson for review

  9/7/2016 MAS
    302938 Revise            "' /
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                                                                                                 y ~                       Billable
                                                                                                                                      z.x
  9/8/2016 SNG                                                                     300.00          0.60       180.00       Billable
    302571 Review
              Review notes from Michael A . Stevenson regarding response to motion/brief;
              Conference with Michael A. Stevenson regarding same, strategy, remaining review
              needed; continue drafting brief

  9/8/2016 MAS                                                                     375.00        ~   .50 ..._,~            Billable   Z-K
    302947 Revise                           ~                                                                ,/'.
              Revised second draft ofRespons         Motion to Set Aside Order; formulate strateg · for
              approaching the hearing

  9/9/2016 SNG                                                                     300.00          2.00       600.00       Billable
    302589 Draft
              Continue drafting and editing response and briefin support ofresponse; Conference
              with Michael A. Stevenson regarding same; finalize response and briefwith exhibits

 9/15/2016 MAS                                                                     375.00                                  Billable   Z- )(
    303845 Review                 """ /
              Reviewed file; instruct~ to Rachel Schultz

 9/15/2016 SNG                              ~                                      300.00                                  Billable   N~
    303391 Rec/Rev
              Receipt and review of amend        chedule J, compare with 7/5 amended J

 9115/2016 SNG
                                                         ,L                        300.00        'K_
                                                                                                   .2 ..-      60.00       Billable   AJ,(
                                                                                                              ~
    303394 Rec/Rev
              Receipt and review ofe-rnail from ACI m 1ener regarding request for adjourning o
              confirmation; Telephone call to Jam~1 '.!udge's courtroom regarding status of motion
              to set aside and hearing regardin ¥ ame;)i.IJlllil to Adam regarding same, Conftnnntion
              Hearing                                     '

 9/2212016 SNG                                                                     300.00          0.10        30.00       Billable
    302873 Other activity
              Calendar hearing on motion to set aside; calendar hearing on adjourned confirmation
              hearing




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MAS.Sharkey, Steven & Sandra:Michael A. Stevenson, Chapter 7 Trustee (continued)

Date       Timekeeper                                                               Rate       Hours        Amount       Total
[D         Activit                                                             Marku(!%      DNBTime       DNBAmt
 9/2212016 SNG                                                                    300.00         0.10         30.00    Billable
    302880 Rec/Rev               ~ ~
           Receipt and review ofte ~r adjourning confirmation
                                                                                                 y          K                     Nt<_
 9/22120 16 SNG
    302884 Rec/Rev                        ~
            Receipt and review ofstipulation djoum confirmation hearing
                                                                                   300.00
                                                                                                 y ·
                                                                                                    0.10
                                                                                                            x-         Billable
                                                                                                                                  All<
 9/2212016 SNG                                                                  300.00         1.60          480.00    Billable
    302872 Meet
           Meeting with Adam Weiner and Leanne Cachia prior to status conference regarding
           hearing notice just entered by Court for motion to Set As ide and Possible Adjourn
           dates; review hearing notice; attend status conference, adjourned confirmation hearing;
           review and execute stipulation and order(includes 1 hour Travel to and fi·om time sole
           case)

 10/4/2016 SNG                                                               300.00                0.20       60.00    Billable
   304192 Rec/Rev
           Receipt and review of affidavit of Adam Wiener; Conference with Michael A .
           Stevenson regarding same

 10/5/2016 MAS                                                              375.00           0.30            11K
                                                                                                               ~.50 Billable      z_ "··
    304461 Formulate                    ~ ~                                                 v~                                        f\
           Formulate strategy with respect 1Slion for Reconsideration in light of the Debtor's
           counsel's affidavit

 10/6/2016 SNO                                                                 300.00              3.00      900.00    Billable
   304475 Attendance
           Attend hearing on motion for reconsideration/rehearing (includes travel time)

                                                                                                                                  ;\/~
                                                                                                 ~ ~
10/11/2016 SNG                                                                     300.00                              Billable
     304826 Roc/Rov                     ~
             Receipt and review of order a   ~ ming   Confirmation Hearing

I 0/ I B/2016 SNO                                                                   300.00          0.20      60.00    Billable
     304960 Rec/Rev
              Receipt and review of affidavit of meritorious defense with additional exhibits and brief
              supporting motion for reconsideration; e-mail to Adam Weiner regarding request for
              withdrawal ofsume

10/19/2016 SNG                                                               300.00          0.30             90.00    Billable
    305513 Rec/Rev
           Receipt and review of e-mail from Adam Wiener regarding reguest for withdrawal of
           supplemental pleading; Conference with Michael A. Stevenson regarding same; review
           FRBP 7015 and FRCP 15; e-mail to Adam Wiener regarding same and renewed request
           for withdrawal



                                                                                                  ~ y                              N~
10/19/2016 SNG                                                                     300.00                              Billable
    305497 Rec/Rev
           Receipt and review ofnotic




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MAS.Sharkey, Steven & Sondra:Michael A. Stevenson, Chapter 7 Trustee (continued)

Date         Timekeeper                                                             Rate     Hours        Amount        Total
ID           Activit                                                         Marku~%       DNBTime       DNBAmt
 I0/20/20 16 SNG                                                                  300.00       0.10         30.00     Billable
     305524 &mail
             E-mail from and to Adam Wiener regarding request to withdrew

I 0/20/2016 SNG                                                               300.00              0.40      120.00    Billable
     305528 E-mail
            E-mails from and to Adam Wiener regarding post henring filing; Conference with
            Michael A. Stevenson regarding same

10/20/2016 MAS                          ~                                      375.00         0.70        • 262.50    Billable   2- X
    305800 Review
           Review of Affiduvit of debtor's . unsel regarding excusable neglect; reviewed couX
           rules; formulnte strategy
                                                                                                           X
10/21/2016 MAS
    305693 Review
                                                   L                              375.00                              Billable ~){
           Review of correspondence from                n n response to our request that he
           withdraw his Affidavit in Suppol).e 1ls motion for reconsideration of the court's denial
           of the debtors' claim ofexempt£f1 in th 'r retirement plan; fonnulate strategy;
           instructions to S. Gall

I 0/24/2016 SNG                                                                   300.00          0.30       90.00    Billable
     305134 Rec/Rev
            Receipt and review of order regarding motion for relief from order sustnining objection
            to exemptions; calendar heuring

10/24/2016 MAS                                                                   375.00           0.50      187.50    Billable
    305698 Review
           Reviewed opinion and order o
           Claim of E.'iemption
                                              e court regarding S & B's objection to the Debtor'sX "        ><
 11/2/20 16 SNG                                                               300.00              0.30       90.00    Billable
   306515 Conference
            Conference with Michael A. Stevenson regarding strategy for hearing

 11/3/2016 SNO                                                                    300.00          1.00     300.00     Billable
   306524 Review
           Review file, objections, affidavit of meritorious defenses, code sections; prepare
           arguments for hearing

 11/3/2016 SNG                                                                  300.00            2.70     810.00     Billable
   306525 Attendance
           Attendance at hearing on objections to exemptions (1 hr travel time)

 11/4/2016 SNG                                                                 300.00          0.10          30.00    Billable
   306672 Rec/Rev
           Receipt and review of order sustaining objections to exemptions; calendar deadline for
           amended state exemptions

 11/9/2016 SNG                                                               300.00               0.10      30.00     Billable
   306418 Rec/Rev
           Receipt and review of deficient pleadings regarding amended schedule C




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 4:47PM                                                    Pre-bill Worksheet                                              Page       8

MAS.Shnrkey, Steven & Sandra:Michael A. Stevenson, Chapter 7 Trustee (continued)

Date          Timekeeper                                                            Rate       Hours        Amount       Total
             Activit _ _ _ _ _ _ _ _ _ _ _ _ _ __
lD11/9/2016 "='sN~G;.,;,;;.,;..                                                Markup%       DNBTirne      DNB Amt - - - - -
                                                                                  300.00         3.20        960.00    Billable
       306417 Review
              Review of amended schedule c, review notes from hearing; portion of audio file from
              hearing; research 28 U.S.C. 1927,26 U.S.C. 72, In re Blassingame; begin drafting
              objection to exemptions, notice, proposed order and brief in support (incomplete)

11110/2016 SNG                                                               300.00          0.80               240.00     Billable
   306612 Office Conf
           Office conference with Michael A. Stevenson regarding strategy regarding objections
           to state exemptions; 1927 sanctions, In re Blasingame

                                                                                                                                      ~ ~ ~MR.
11/10/2016 MAS
    307158 Review
                           ~
           Reviewed debtor's c finnntion certificate
                                                                                   375.00
                                                                                                :'K·             ~
                                                                                                                           Billable



1!110/2016 MAS
                                       ~ /
                                                                            375.00                  1.00        375.00     Billable
                                                                                                                                      ~x
    307157 Review
           Reviewed debtor's amended I tlU les and objections to claims; Conference with
           Sonya Gall to formulate st' 7
                                                                                                  K             X
11114/2016 SNG
   306639 Rec/Rev                           ~
                                                                         300.00
                                                                                       ~
                                                                                           0.20

           Receipt and review of email fr~am Weiner regarding adjou m ment of confirmntiti'n ~
           hearing; review and execute st~ n; email to Adam regarding same
                                                                                                                ;<--       Billable
                                                                                                                                      Nf<
11/14/2016 MAS                                                                     375.00                                  Billable
    307476 Review                 ""'-     /
           Reviewed the     debtor's/~ed Chapter 13 plan
11/16/2016 SNG
    306746 E-mail                     ~/
                                                                           300.00
                                                                                                  x- x
                                                                                                    0.10         30.00     Billable   N!<
           E-mail to Adam Weinerregnrdin a1'tls ofstipulation and orderndjouming
           confinnntion hearing

11/16/2016 SNG                                     L                               300.00          0.10          30.00     Billable   N~
    306751 &mail
           E-mail from and to Adam
           review of filed stipulation
                                         Weiner~"otr(ng
                                               ~
                                                          stipulation for adjournment; Receipt and Y
                                                                                                     '     ·
                                                                                                                X
I 1/16/2016 SNG
     306755 Rec/Rev
                                               ~                               300.00

            Receipt and review of order adjourn in . nfinnntion hearing; calendar same            X
                                                                                                    0.10
                                                                                                               ?<
                                                                                                                           Billable
                                                                                                                                       N"'
11118/2016 MAS                                      .                      375.00                   0.50        187.50     Billable   2)(~
   307489 Review

           forward
                                       . '

                                         C '\.
                                               /
           Reviewed objections to claims fi~bfthe debtor and formulated a strategy going                       x--                        Nf<
11/21/2016 SNG                                                                  300.00              3.80       1,140.00    Billable
    307136 Other activity
           Continue drafting brief in support of objections to exemptions (incomplete)




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MAS.Sharkey, Steven & Sandm:M ichael A. Stevenson, Chapter 7 Trustee (continued)

Date        Timekeeper                                                              Rate         Hours     Amount      Total
ID          Activit                                                          Markup% DNBTime              DNBAmt - - - - -
 1112212016 -=-sN=o-'-"'------------------                                        300.00           0.50     150.00   Billable
     307322 Conference
            Conference with Michael A. Stevenson regarding suggested changes to objection to
            exemptions, brief in support; edit same, prepare same and exhibits for filing; forward to
            Rachel Schultz with objections to confirmation with instructions regarding nil

11/22/2016 SNG                                                                 300.00          1.20         360.00     Billable
    307317 Review
           Review and edit motion, brief, proposed order, notice; forward to Michael A. Stevenson
           for review and notes/suggestions

                                                                                                                                   2J<.
                                                                                                 xx--·
11/22/20 I6 MAS                                                              375.00               0.80      300.00     Billable
    307507 Review                         ./
            Reviewed and revised o 'ec i~to the debtor's fifth claimofexemptions, briefin
            support, and motion  ry   ctions

11/22/2016 SNG
    307319 Review                                          ·
                                                                                   300.00          0.40
                                                                                                     ~
                                                                                                            120.00
                                                                                                             x--       Billable   /'JR..
           Review amended plan, unsecure lai , calculate class 9 claim amount; research prim~
           interest rate and calculate interest t e paid to class 9 creditors; draft objections to
           amended plan

II /28/2016 SNG                                                                300.00          0.50         150.00     Billable
     307394 Rec/Rev
            Receipt and review ofresponse to objection to exemptions and affirmative defenses;
            compare response with objections; conference with Michael A. Stevenson regarding
            sa me; strategy

11/29/20 16 SNG                                                                300.00          0.20          60.00     Billnble
    307747 Rec/Rev
            Receipt and review ofNotice of Hearing on objection to exemptions; calendar same;
            e-mail to Kim Siebert and Marilyn Somers-Kantzer regarding same, affirmative defense,
            concurrence; e-mail from Marilyn regarding same

11/30/2016 SNG                                                                 300.00             0.10       30.00     Billable
    307758 E-mail
           E-mail from and to Marilyn regarding concurrence to objection to exemption

I 1/30/2016 SNG                                                             300.00         0.30              90.00     Billable
    307763 Conference
           Conference with Michael A. Stevenson regarding 13 Trustee's pending concurrence to
           objection and strategy regarding same

 1211/2016 SNG                                                                300.00              0.10       30.00     Billable
   307915 Rec/Rev
           Receipt and review ofTrustee's concurrence to objection to exemptions

                                                                                                                                  Z., )(
                                                                                                  x-· 'X'
 12/2/2016 MAS                           ~                                   375.00               0.50                 Billable
   309445 Review
           Review of debtor's response too ~ tion; formulate stmtegy for hearing




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MAS.Sharkey, Steven & Sandra:M ichael A. Stevenson, Chapter 7 Trustee (continued)

Date          Timekeeper                                                              Rate        Hours     Amount      Total
ID            Activit                                                          Markup% DNBTime             DNBAmt - - - - -
  121212016   SNG                                                                   300.00          4.10    1,230.00  Billable
    307893    Conference
              Conference with Rachel Schultz and Michael A. Stevenson regarding strategy
              regarding transcript ofhearing on federal objections and reply to response to
              objections to state exemptions; research regarding standing, latches, estoppel; listen to
              audio filed fi'ompriorhearing in relation to response to paragraph 6 ofobjection,
              prepare notes; begin drafting reply to response

  1215/2016 SNG                                                               300.00        0.30              90.00     Billnble
    308298 Conference
            Conference with Michael A. Stevenson regarding reply to response; review Michael A.
            Stevenson notes, edit reply and prepare for filing

 1215/2016 MAS                                                                      375 .00        0.50      187.5b     Billable
   309447 Review
              Revie~ved
              sanctions
                                        ~
                          and revised rep!   o objection and affirmative defenses to motion for    xx-
 1215/2016 MAS
   309456 Review                      ,\,.c(.l
           Review of debto1's repi'(""< B's response; formulate strategy
                                                                                    375.00
                                                                                                   y1.00                Billable
                                                                                                                                   zx
 1215/2016 SNG                                                                   300.00          4.60       1,380.00    Billable
   308295 Review
           Review notes, notes of audio file fi'om 11/3 hearing, code and statute sections; continue
           drafting reply to response to objection to exemption; review and edit same; forward to
           Michael A. Stevenson for input

 1216/2016 SNG                                                                      300.00         0.10       30.00     Billable
   308319 E-mail
           E-mail fi'om and to Kristen Shan kelton regarding transcript

 1216/2016 SNG                                                                      300.00         0.20       60.00     Billable
   308320 Review
           Review transcript and prepare for filing




12/1212016 SNG                                                                300.00            1.10
    308795 Rec/Rev
           Receipt and review ofbriefin support of debtor's response with exhibits; research 26
           USC 72, bankruptcy code/rules and local banlouptcy rules regarding late filing of same;
           Conference with Michael A. Stevenson regarding same, strategy; draft ex parte motion
           to strike; review and edit same




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MAS.Shnrkey, Steven & Sandrn:Michael A . Stevenson, Chapter 7 Trustee (continued)

Date       Timekeeper                                                              Rate         Hours       Amount                 Total
JD         Activit                                                             Markup%       DNB Time      DNB Amt
1211212016 : - M : - A : - : S : : - = - - - - - - - - - - - - - - - -
       309493 Review
             Reviewed the reply to S& '
             debtor's claimofexemp£
                                                                                   375.00

                                            ly to debtor's response to Tmstee's objection to
                                        , om1ulate strategy
                                                                                                    1.00

                                                                                                    )<' x--
                                                                                                             375.00 ---=B-=il.,....la-bl:-e
                                                                                                                                              zx
12113/2016 MAS
   309508 Review                              ""-   L
             Reviewed response to ex partL~ to strike plendings; formulate strategy
                                                                                   375.00           0.50

                                                                                                    ?< y--
                                                                                                             187 50             Billable
                                                                                                                                              zx
12113/2016 SNG                                                                     300.00           0.60     180.00             Billable
   308814 Rec/Rev
             Receipt and review of debtor's answer to ex parte motion to strike; e-mail to David
             Lewiston regarding request for withdrawal of answer as no ability to respond to ex parte
             motion; Conference with Michael A . Stevenson regarding same, strategy

12114/2016 SNG                                                                     300.00           0.20      60.00             Billable
   308828 Review
             Review notes, objections, responses, briefs, motion to strike; prepare arguments for
             hearing

12114/2016 SNG                                                                     300.00           0.30      90.00             Billable
   308819 Rec/Rev
             Receipt and review of debtor's brief in response to creditoJJs motion for sanctions;
             Conference with Michael A. Stevenson regarding same, strntegy

12114/2016 MAS                        ~                                            375.00           1.00     375.00             Billable      ZX
   309513 Analyze                                      --
             Analyze debtor's brief in res on e o creditor's motion for sanctions; fommlnte   strate~         K -
12115/2016 SNG                           ~-                                        300.00           0.30      90.00             Billable
   309166 Telephone Call
             Telephone call with Michael A. Stevenson regarding arguments, hearing/opinion
             stntus, final reply brief

12115/2016 SNG                                                                     300.00           4.80    1,440.00            Billable
   309165 Attendance
             Attend status conference; review notes priot· to hearing; attend heming (includes travel
             time sole case I hr)

12116/2016 SNG                                                                     300.00           0.10      30.00             Billable
   3091 69 Rec/Rev
             Receipt and review of text order regarding bench opinion; calendar same; calendar
             deadline to file reply brief

12116/2016 SNG                                                                     300.00           0.10      30.00             Billable
   309175 Rec/Rev
             Receipt and review of order regnrding objection to exemptions and denying motion to
             strike

12116/2016 SNG                                                                     300.00           0.30      90.00             Billable
   309170 Conference
             Conference with Michael A. Stevenson regarding hearing, brief strategy




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MAS.Sharkey, Steven & Sandra:Michael A. Stevenson, Chapter 7 Trustee (continued)

Date          Timekeeper                                                              Rnte         Hours         Amount            Total
ID12128/2016 -=s::=:N-::G:...:.:.(.
             Activit _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                               Markup%        DNBTime        DNBAmt
                                                                                     300.00          0.30          90.00 ---B-il-la-bl-e
    309607 Conference
           Conference with Michael A. Stevenson regarding 1927 sanctions and status of research
           regarding final reply brief

12128/2016 SNG                                                                        300.00           2.40          720.00      Billable
   309614 Research
           Begin research regarding 522b3C and b4A&B

 1/10/2017 SNG                                                                   300.00          6.50               1,950.00     Billable
    310370 Other activity
           Listen to audio fi'om 12115 hearing regarding 522(b)(4)(B} exemption, review reply brief
           regarding objection to exemption; continue research regarding section 522(b)(4)'s
           applicability to 522(b)(3) and (d)(l2); continue drafting reply brief

 1/10/2017 MAS                                                                        375.00           0.50          187.50     Billuble
    310710 Analyze
           Analyzed debtor's briefin s
           amended exemptions; fom1
                                                rt of their response to S&B's objection to the debtor'sy        ·     x-
                                            ~ strategy


 1/11/2017 SNG                                                                  300.00          5.20                1,560.00    Billable
    310588 Research
           Continue research and drafting of brief; Conference with Michael A. Stevenson
           regarding withdrawal of 1927 sanctions; review and edit brief and prepare for filing

 111112017 MAS                                                                      375.00         0.50              187.50     Billable
   310715 Review                      \..
           Reviewed and revised briel'-i su
                                                                                                    '\. .,.........-
                                                  rt of creditor's response to debtors' response to A
                                                                                                                       x---
           creditor's objection to the deb r~ ' claim of exemptions

 I/24/20 17 SNG                                                                  300.00                0.10           30.00     Billub1e
    311455 Rec/Rev
            Receipt and review of notice of adjourning bench opinion; ·culendar same

  215/2017 SNG                                                                     300.00              0.30           90.00

                                                                                                       x x--
                                                                                                                                Billable    ,/\)"
   312702 E-muil                          ~ _,--
           E-muils to (5) and tram (5) Marily S 11iiers-kantzer and Adam Wiener regarding
           ca~cele~ bench opinion, adjourn     lilt ofconfinnation; draft stipulation and order
           adJoummg same                         \

  2/612017 SNG
    312266 Rec/Rev
                                                                                      300.00          ~ ~-                      Billable    /VIZ
           Receipt and review ofconfi

  217/2017 SNG                                                                  300.00                 0.20           60.00     Billob1e
   312325 Review
           Review calendur; e-muils to (3) and ftom (3} Marilyn Somers-Kantzer regarding
           attendunce at stutus conference, potential ruling and possible appeal

  218/2017 SNG                                                                300.00           0.20                   60.00      Billable
   31270 I Rec/Rev
           Receipt and review of docket entry regarding order canceling bench opinion: review
           attuched order, order for different cuse; Telephone conference to Mary Vosninc left




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MAS.Sharkey, Steven & Sandra:Michael A. Stevenson, Chapter 7 Trustee (continued)

Date             Timekeeper                                                           Rate    Hours        Amount      Total
_m"----- Activit                                                               Markue% DNBTime            DNBAmt _ _ _ __
                 message regarding same, inquiry regarding confinnation and timing of opinion

      218/2017 SNG                                                              300.00             0 I0      30 00        Billable ;V~
       312703 E-m1il                            ~ ~                                                 ·-~     ~
               &mails from (I) and to (2) Adam Wien e'(nrding stipulation adjourning; email to     ~       ~ '\..
               Marilyn Sonm1ers-Kantzer regarding m

     2/9/2017 SNG                                        ~                    300.00           0.20          60.00        Billable   IV';<
       312704 E-mail                                ~
              E-mail from adn to Marilyn Sommers-!... t regarding adjourning confirmation; edit
              stipulation for signatures and prepare f~ l~
                                                                                                            ><-
  2/16/2017 SNG                                                                300.00         0.80          240.00        Billable
     312705 Rec/Rev
            Receipt and review of opinion regarding objections to exemptions and request for
            sanctions; Receipt and review of order regarding sume; conference with Michael A.
            Stevenson regarding strategy regarding objections to confirmation, instructions
            regarding motion for ad min claim

 2/17/2017 SNG                                            ~·                   300.00          3.30         990.00        Billable
    312706 Review
           Review tile, notes; begin drafting motion} <
                                                      ad · n claim, notice, proposed order, brief
           in support (incomplete)
           Phase/Task: Case Administration

 2/20/2017 SNG                                                                      300.00         5.50    1,650.00       Billable
    312707 Prepare                                        '           ~
           Continue drafting briefin support of ad min cl~ai~· ot1'(in'ue legal research regarding
           benefit to the estate; prepare exhibits to motion· 't motion, brief in support; prepare
           all for filing


TOTAL            Billable Fees                                                                   103.40                 $32,085.00
                 Do Not Bill                                                                       2.80    $990.00
                 No Charge                                                                         0.20     $60.00


Date             Timekeeper                                                        Price     Quantity      Amount           Total
ro               ~Ep~e~n~se~---------------------------                       Marlru(2%
 7/25/2016 LDH                                                                      1.57          2.000        3.14       Billable
    299829 Postage
           Postage expense
           Phase/Task: Ex-penses

 7/25/2016 LDH                                                                       0.25        30.000        7.50       Billable
    299828 Copying
           Copies made
           Phase/Task: Expenses




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  4:47PM                                                   Pre-bill Worksheet                                       Pnge       14

MAS.Shnrkey, Steven & Sandra:Michael A. Stevenson, Chapter ?Trustee (continued)

Date           Timekeeper                                                            Price   Quantity   Amount        Total
ID             Expense                                                       Marku~%
   8/8/20 I6   SNG                                                                   93.09      1.000     93.09     Billable
     300209    Legal Research
               Lexis charges for legnl research
               Phase/Tns k: E.\"penses

  8/31/2016 SNG                                                                       3.52      1.000      3.52     Billable
     302068 LegaiResearch
            Lexis charges for legal research
            Phase/Task: E.\"penses

   9/9/2016 LDH                                                                       1.57      1.000      1.57     Billable
     302472 Postage
            Postage expense
            Phase/Task: Expenses

   9/9/2016 LDH                                                                       0.25     17.000      4.25     Billable
     302471 Copying
            Copies made
            Phose/Task: Expenses

 9/2212016 SNG                                                                       10.00      1.000     10.00     Billable
    306I73 Parking
           Parking expense
           Phase/Task: Expenses

  10/6/2016 SNG                                                                       6.00      1.000      6.00     Billable
    306174 Parking
            Parking expense
            Ph as e/Tas k: E.\"pens es

  I0/7/20 16 SNG                                                                      4.36      1.000      4.36     Billable
     304141 Legal Research
             Lexis charges for legal research
             Phase/Task: E'ipenses

 I I/3/2016 SNG                                                                       6.00      1.000      6.00     Billable
     306179 Parking
            Parking expense
            Phase/Task: Expenses

I I/22120I6 LDH                                                                       3.25      I.OOO      3.25     Billable
     307784 Postage
            Postage expense
            Phase/Task: Expenses

I 112212016 LDH                                                                       0.25     66.000     I6.50     Billable
    307783 Copying
            Copies m1de
            Phnse/Tas k: Expenses




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 MAS.Sharkey, Steven & Sandra:Michnel A. Stevenson, Chapter 7Trustee (continued)

 Date        Timekeeper                                                            Price   Quantity     Amount          Totnl
 lD          E.~ense                                                       Marku~%
   12/512016 LDH                                                                   0.47       1.000         0.47      Billable
      308229 Postage
             Postage expense
             Phase/Task: E.'<penses

   12/5/2016 LDH                                                                   0.25       4.000         1.00      Billable
     308228 Copying
             Copies made
             Phase/Task: E>.'}lenses

   1216/2016 LDH                                                                   0.67       1.000         0.67      Billable
     308238 Postage
             Postnge expense
             Phase/Tusk: E.'<penses

   1216/2016 LDH                                                                   0.25       9.000         2.25      Billnble
     308237 Copying
             Copies made
             Phase/Task: E.'<penses

    1/6/2017 SNG                                                                444.47        1.000       444.47      Billable
     309789 Legal Research
             Lexis charges for !ega I research
             Phase/Task: E.'<penses

  1/11/2017 LDH                                                                    0.47       1.000         0.47      Billable
     310561 Postage
            Postage expense
            Phase/Task: E.\'}lenses

  1/11/2017 LDH                                                                    0.25       5.000         1.25     Billable
     310560 Copying
            Copies made
            Phase/Task: Expenses


TOTAL          Billable Costs                                                                                        $609.76



                                                 Calculation ofFees and Costs


                                                                                                        Amount          Total

Fees Bill Arrangement: Slips
By billing value on each slip.

Total ofbillable time slips                                                                           $32,085.00
Total ofFees (Time Charges)                                                                                        $32,085.00

Costs Bill Ammgement : Slips
By billing value on each slip.




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MAS.Sharkey, Steven & Snndra:Michael A. Stevenson, Chapter 7 Tntstee (continued)
                                                                                          Amount          Total


TolEll of billable expense slips                                                           $609.76
Total of Costs (Expense Charges)                                                                        $609.76


Total new charges                                                                                     $32,694.76

New Balance
Current                                                                                  $32,694.76

Total New Balnnce                                                                                     $32,694.76




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